       Case 2:10-cr-00223-JAM Document 588 Filed 06/09/14 Page 1 of 2


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 4
     Attorney for Defendant
 5
     YGNACIA BRADFORD
 6

 7

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10
                                            SACRAMENTO DIVISION
11

12
     UNITED STATES OF AMERICA,                          ) Case No. CR S 10-0223-JAM
13                                                      )
                                   Plaintiff,           )
14                                                      ) STIPULATION AND ORDER TO
            vs.                                         ) VACATE STATUS CONFERENCE AND
15                                                      ) SET JUDGMENT AND SENTENCING
                                                        )
16                                                      )
     YGNACIA BRADFORD,                                  )
17                                                      )
                                   Defendants.          )
18                                                      )
19

20           IT IS HEREBY STIPULATED by and between the parties, the UNITED STATES
21   OF AMERICA, through undersigned counsel, Phillip A. Ferrari, Assistant United States
22   Attorney, and Joseph J. Wiseman, attorney for Ygnacia Bradford, that the Status
23   Conference, scheduled for June 17, 2014, be vacated and the case be calendared for
24   Judgment and Sentencing of Defendant Bradford, on August 26, 2014 at 9:30 a.m.
25           It is further stipulated that the matter be referred to the Probation Department
26   for an updated Presentence Investigation Report (“PSR”) to be filed with the Court and
27   served on the parities no later than August 5, 2014. Additionally, Counsel will provide
28   the Probation Department with updated information for Defendant’s Presentencing


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     Stipulation and (Proposed Order to Vacate Status                  Case No. CR.10-0223 JAM
     Conference and set Judgment and Sentencing
       Case 2:10-cr-00223-JAM Document 588 Filed 06/09/14 Page 2 of 2


 1   report. The Defendant’s formal objections to the Presentence Report and Sentencing
 2   Memorandum will be due to the Court by August 12, 2014. The government’s Reply or
 3   Statement of Non-opposition will be due to the Court by August 19, 2014.
 4

 5
     Dated: June 6, 2014                                Respectfully submitted,
 6
                                                        By: /s/ Joseph J. Wiseman
 7                                                      JOSEPH J. WISEMAN
                                                        Attorney for Defendant
 8
                                                        YGNACIA BRADFORD
 9
     Dated: June 6, 2014                                By: /s/ Phillip A. Ferrari
10                                                      PHILLIP A. FERRARI
                                                        Assistant U.S. Attorney
11
                                                        Attorney for the United States
12

13
                                                 ORDER
14

15           GOOD CAUSE APPEARING, it is hereby ordered that the Status Conference

16   scheduled for June 17, 2014 be vacated and the case be set for Judgment and Sentencing

17   of Defendant Bradford on August 26, 2014 at 9:30 a.m. It is further ordered that the

18   matter is referred to the Probation Department for the preparation of an updated

19   Presentence Investigation Report to be filed with the Court and served on the parties no

20   later than August 5, 2014. The Defendant’s formal objections to the Presentence Report

21   and Sentencing Memorandum will be due to the Court by August 12, 2014. The

22
     government’s Reply or Statement of Non-opposition will be due to the Court by August

23
     19, 2014.

24
     IT IS SO ORDERED.

25
     Dated: 6/9/2014                                          /s/ John A. Mendez__________
26                                                            HON. JOHN A. MENDEZ
                                                              United States District Court Judge
27

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     Stipulation and (Proposed Order to Vacate Status                          Case No. CR.10-0223 JAM
     Conference and set Judgment and Sentencing
